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Attorney for Defendant JUL 15 2010

LEONARD WILLIAMS e

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION
UNITED STATES OF AMERICA, Case No. CR S 08-376 EJG
Plaintiff, }
VS. )
REQUEST FOR WAIVER OF PRESENCE
) Ks mods fied
LEONARD WILLIAMS, SOT
Defendant. } 4 WV Aur?

 

Defendant hereby waives the right to be present in person in open court
upon the hearing of any motion or other proceeding in this cause, including, but not
limited to when the case is ordered set for trial, when a continuance is ordered, and
when any other action is taken by the court before or after hearing, except upon
arraignment pea, empanelment of jury, trial and imposition of sentence. Defendant
hereby requests the court to proceed during every absence of his which the court may
permit pursuant to this waiver; agrees that his interests will be deemed represented at
all times by the presence of his attorney, the same as if defendant were personally

present; and further agrees to be present in court ready for hearing any day and hour

Br

 

Request for Waiver of Presence Case No. CR S 08- 0376 EJG

 

 

 
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the court may fix in his absence.

Defendant further acknowledges that he has been informed of his rights under
Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times
and delays under the Act without defendant being present.

Dated: July 9, 2010 /s/_ Leonard Williams
Defendant, LEONARD WILLIAMS

Approved: July 12, 2010 By:__/s/ Joseph J. Wiseman
JOSEPH J. WISEMAN

Attorney for Defendant
LEONARD WILLIAMS

Dated: July 12,2010 Respectfully submitted,

JOSEPH J. WISEMAN, P.C.

By:__/s/ Joseph J. Wiseman
JOSEPH J. WISEMAN

Attorney for Defendant
LEONARD WILLIAMS

I approve the above Request for Waiver of Presence.

Dated: 7) ¢3) 16 S22 4h CA
EWARD J. GARCIA
United States District Judge

 

Request for Waiver of Presence Case No. CR S 08- 0376 EJG

 

 

 
